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EXHIBIT B
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

03 MDL 1570 (GBD/FM)

In re Terrorist Attacks on September 11, 2001
Clerk’s Certificate of Default

This document relates to: Estate of John P. O’Neill, Sr., et a/. v. The Republic of Iraq,
et al., 04-CV-1076 (GBD)

|, RUBY J. KRAJICK, Clerk of the United States District Court for the Southern
District of New York, do hereby certify that this action was commenced on August 20,
2003 with the filing of the Complaint. The Third Amended Complaint was filed on June
7, 2005 and served on Defendants Islamic Republic of Iran, Iranian Ministry of
Intelligence and Security, Iranian Minister of Intelligence and Security Ali Fallahian,
lranian Revolutionary Guard Corps, Iranian Revolutionary Guard Corps — QODS Force,
Ayatollah Ali Hoseini-Khamenei, and Deputy Commander Brigadier General of the
Iranian Revolutionary Guard Corp. Mohammed Bagr Zalqadr (collectively, "Iran"), as
follows:

Service was effectuated by J. Michael McMahon, Clerk of Court for the Southern
District of New York, by sending the Third Amended Complaint, Summons and Notice of
Suit to Mr. Edward Betancourt, Director of Special Consular Services for the United
States Department of State (the “State Department”), by registered mail, return receipt
requested. On June 17, 2005, evidence of the State Department's transmission of the
documents was filed with the Court. See 03-MD-1570, Docket Nos. 1127-1133. The
O'Neill Plaintiffs filed their Affidavit of Service as to Iran and other supporting

documentation with this Court on October 31, 2014. See MDL Docket No. 2906.

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| further certify that the docket entries indicate that Iran did not file an

answer or otherwise move with respect to the Third Amended Complaint. The default of

Iran is hereby noted.

Dated: , 2015
New York, NY

RUBY J. KRAJICK
Clerk of the Court

By:

Deputy Clerk

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